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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-61716-CIV-DIMITROULEAS/SNOW

  DANIEL MONCADA,

         Plaintiff,

  vs.

  LESLIE’S POOLMART, INC.,
  a foreign for-profit corporation,

        Defendant.
  ______________________________________/

                  JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         Plaintiff and Defendant, pursuant to the Federal Rules of Civil Procedure, hereby move to

  dismiss this action with prejudice, a resolution of all matters in dispute having been made and

  each party to bear its or their own fees and costs.

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